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                       UNITED STATES DISTRICT COURT FOR
                       EASTERN DISTRICT OF PENNSYLVANIA


 CHESTER COUNTY SPORTS ARENA
                    Plaintiff,
                                                                          COMPLAINT
        vs.
                                                                  JURY TRIAL DEMANDED
 THE CINCINNATI SPECIALTY
 UNDERWRITERS
 INSURANCE COMPANY

                                Defendant.


      Plaintiff Chester County Sports Arena (“Plaintiff”) brings this Complaint, alleging against

Defendant, The Cincinnati Specialty Underwriters Insurance Company, as follows:

                                   I.         NATURE OF THE CASE

       1.      This is a civil action seeking declaratory relief arising from Plaintiff’s contract

of insurance with the Defendant.

       2.      In light of the Coronavirus global pandemic and state orders mandating all non-

life- sustaining businesses in the Commonwealth to cease operations and stay at home, Plaintiff

shut their doors on March 13, 2020.

       3.      Plaintiff’s insurance policy provides coverage for all non-excluded business

losses, and thus provides coverage here.

       4.      As a result, Plaintiff is entitled to declaratory relief that the business is covered

for all business losses that have been incurred in an amount greater than $150,000.00.

                                        II.      JURISDICTION

       5.      This court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 because there is complete diversity of citizenship between Plaintiff and the Defendant.
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 Plaintiff is a Pennsylvania Limited Liability Corporation. Defendant is a Delaware Corporation

 with its principal place of business in Ohio. Further, Plaintiff have suffered business losses in

 an amount greater than $150,000.00. The amount in controversy necessary for diversity

 jurisdiction over a declaratory judgment action is measured by the value those business losses.

 Id. at § 1332(a).

         6.      The Court has personal jurisdiction over the Defendant because at all relevant

 times they have engaged in substantial business activities in the Commonwealth of

 Pennsylvania. At all relevant times, Defendants transacted, solicited, and conducted business

 in Pennsylvania through its employees, agents, and/or sales representatives, and derived

 substantial revenue from such business in Pennsylvania.

         7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a

 substantial portion of the wrongful acts upon which this lawsuit is based occurred in this District.

 Venue is also proper pursuant to 28 U.S.C. § 1391(c) because the Defendant is a corporation

 that has substantial, systematic, and continuous contacts in the Commonwealth of Pennsylvania,

 and as a result is subject to personal jurisdiction in this District.

         8.      The acts and/or omissions complained of took place, in whole or in part, within

 the venue of this Court.

                                              III.     PARTIES

        9.     At all relevant times, Plaintiff was authorized to do business and was doing

business in the Commonwealth of Pennsylvania, County of Chester. Chester County Sports

Arena owns, operates, manages, and/or controls a multi-sport rink as a community host to social

and sporting events at its facility located at 4533 West Lincoln Highway in Downingtown, PA

19335. See http://chestercountysportsarena.com/ (last visited April 21, 2020).


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       10.     At all relevant times, Defendant The Cincinnati Specialty Underwriters

Insurance Company is a corporation doing business in the Commonwealth of Pennsylvania,

subscribing to Policy Number ENP 043 29 12 issued to the Plaintiff for the period of April 5,

2017 to April 5, 2020. See Policy Declaration page, attached hereto as Exhibit 1. Over the years,

the terms of the policy have remained the same, though the number and name of the insureds

have changed. See Policy CSU0125560, Declaration page also attached hereto as Exhibit 1.

The Plaintiff has an agreed proposal in place for coverage starting on April 5, 2020 as well.

Defendant transacts business of insurance in the Commonwealth of Pennsylvania and within the

County of Chester and the basis of this suit arises out of such conduct.

                                IV.    FACTUAL BACKGROUND

              A.     Insurance Coverage

       11.     Defendant entered into a contract of insurance with the Plaintiff, whereby

Plaintiff agreed to make payments to Defendant in exchange for the Defendant’s promise to

indemnify the Plaintiff for losses including, but not limited to, business income losses at

Plaintiff’s place of business located at 4533 West Lincoln Highway in Downingtown, PA 19335

(the “Insured Property”), which is owned, leased by, managed, and/or controlled by the Plaintiff.

       12.     The Insured Property is covered under a policy issued by Defendant. See Ex. 1

(hereinafter “Policy”).

       13.     The Policy provides, among other things property, business personal property,

business income and extra expense, contamination coverage, and additional coverages.

       14.     Plaintiff faithfully paid policy premiums to Defendant, specifically to provide,

among other things, additional coverages in the event of business interruption or closures by

order of Civil Authority.

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        15.     Under the Policy, insurance is extended to apply to the actual loss of business

income sustained and the actual, necessary and reasonable extra expenses incurred.

        16.     The Policy is an all-risk policy, insofar as it provides that covered causes of loss

under the policy means direct physical loss or direct physical damage unless the loss is

specifically excluded or limited in the Policy.

        17.     Based on information and belief, the Defendant has accepted the policy

premiums with no intention of providing any coverage for business losses or the Civil Authority

extension due to a loss and shutdown from a virus pandemic.

               B.      The Coronavirus Pandemic

        18.     The scientific community, and those personally affected by the virus, recognize

the Coronavirus (also known as Covid-19) as a cause of real physical loss and damage. It is clear

that contamination of the Insured Property would be a direct physical loss requiring remediation

to clean the surfaces of the offices and retail store constituting the Insured Property.

        19.     The virus that causes COVID-19 remains stable and transmittable in aerosols for

up to three hours, up to four hours on copper, up to 24 hours on cardboard and up to two to three

days on plastic and stainless steel. See https://www.nih.gov/news-events/news-releases/new-

coronavirus-stable-hours-surfaces (last visited April 9, 2020).

        20.     The CDC has issued a guidance that gatherings of more than 10 people must not

occur. People in congregate environments, which are places where people live, eat, and sleep in

close proximity, face increased danger of contracting COVID-19.


        21.     The global Coronavirus pandemic is exacerbated by the fact that the deadly virus

physically infects and stays on surfaces of objects or materials, “fomites,” for up to twenty-eight

(28) days.
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        22.     China, Italy, France, and Spain have implemented the cleaning and fumigating

 of public areas prior to allowing them to re-open publicly due to the intrusion of microbials.

               C.     Civil Authority

        23.     On March 6, 2020, Pennsylvania Governor Tom Wolf issued a Proclamation of

 Disaster Emergency, the first formal recognition of an emergency situation in the

 Commonwealth as a result of COVID-19. See Exhibit 2.

        24.     On March 19, 2020 Governor Wolf issued an Order requiring all non-life-

 sustaining businesses in Commonwealth to cease operations and close all physical locations.

 Businesses that were permitted to remain open were required to follow “social distancing

 practices and other mitigation measures defined by the Centers for Disease Control.”

See Exhibit 3; https://www.scribd.com/document/452416027/20200319-TWW-COVID-19-

Business-Closure-Order (last visited April 7, 2019).

        25.     On March 23, 2020, Governor Wolf issued a Stay-at-Home Order for residents

 of Philadelphia, Allegheny, Bucks, Chester, Delaware, Monroe, and Montgomery Counties. See

 Exhibit 4. On that same date, the Pennsylvania Department of Health issued a similar Order,

 noting that “operation of non-life-sustaining businesses present the opportunity for unnecessary

 gatherings, personal contact and interaction that will increase the risk of transmission and the

 risk of community spread of COVID–19.” See Exhibit 5.

        26.     On April 1, 2020, Governor Wolf extended the March 23, 2020 Stay at Home

 Order to the entire Commonwealth of Pennsylvania. See Exhibit 6.

        27.     The Pennsylvania Supreme Court recently clarified the Governor’s Orders and

 supported Plaintiff’s position that physical loss and damage exists resulting in coverage here.

 See Friends of DeVito, et. al v. Wolf, No. 68 MM 2020 (Pa. April 13, 2020).


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       28.     Further, on April 10, 2020 President Trump seemed to support insurance

coverage for business loss like that suffered by the Plaintiff:

               REPORTER: Mr. President may I ask you about credit and debt
               as well. Many American individuals, families, have had to tap
               their credit cards during this period of time. And businesses have
               had to draw down their credit lines. Are you concerned Mr.
               President that that may hobble the U.S. economy, all of that debt
               number one? And number two, would you suggest to credit card
               companies to reduce their fees during this time?


               PRESIDENT TRUMP: Well it’s something that we’ve already
               suggested, we’re talking to them. Business interruption
               insurance, I’d like to see these insurance companies—you know
               you have people that have paid. When I was in private I had
               business interruption. When my business was interrupted through
               a hurricane or whatever it may be, I’d have business where I had
               it, I didn’t always have it, sometimes I had it, sometimes, I had a
               lot of different companies. But if I had it I’d expect to be paid.
               You have people. I speak mostly to the restaurateurs, where they
               have a restaurant, they’ve been paying for 25, 30, 35 years,
               business interruption. They’ve never needed it. All of a sudden
               they need it. And I’m very good at reading language. I did very
               well in these subjects, OK. And I don’t see the word pandemic
               mentioned. Now in some cases it is, it’s an exclusion. But in a lot
               of cases I don’t see it. I don’t see it referenced. And they don’t
               want to pay up. I would like to see the insurance companies pay
               if they need to pay, if it’s fair. And they know what’s fair, and I
               know what’s fair, I can tell you very quickly. But business
               interruption insurance, that’s getting a lot money to a lot of
               people. And they’ve been paying for years, sometimes they just
               started paying, but you have people that have never asked for
               business interruption insurance, and they’ve been paying a lot of
               money for a lot of years for the privilege of having it, and then
               when they finally need it, the insurance company says ‘we’re not
               going to give it.’ We can’t let that happen.

https://youtu.be/_cMeG5C9TjU (last visited on April 17, 2020) (emphasis added).

       29.     The President is articulating a few core points:

               a.      Business interruption is a common type of insurance, especially for
                       restaurants (and by extension, other forms of retail establishments).

               b.       Businesses pay in premiums for this coverage and should reasonably

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                      expect they’ll receive the benefit of the coverage.

               c.     This pandemic should be covered unless there is a specific exclusion for
                      pandemics.

               d.     If insurers deny coverage, they would be acting in bad faith.

       30.     Governor Wolf and Pennsylvania Secretary of Health have now extended the

statewide      stay-at-home       orders      through       Friday,      May       8,      2020.

https://www.governor.pa.gov/newsroom/gov-wolf-sec-of-health-extend-statewide-stay-at-

home-order-until-may-8/ (last visited April 22, 2020).

       31.     These Orders and proclamations, as they relate to the closure of all “non-life-

sustaining businesses,” evidence an awareness on the part of both state and local governments

that COVID-19 causes damage to property. This is particularly true in places where business is

conducted, such as Plaintiffs’, as the requisite contact and interaction causes a heightened risk

of the property becoming contaminated.

              D.     Impact on Chester County Sports Arena

       32.     As a result of the Orders referenced herein, Plaintiff ceased all operations on

March 13, 2020 and continues to be shutdown.

       33.     As a further direct and proximate result of the Orders, Plaintiff has been forced

to lay off its full and part time employees, approximately 30 employees in total. Prior to March

13, 2020, Chester County Sports Arena’s hours of operation were Monday through Thursday, 3

p.m – 11 p.m., Fridays 3 p.m – midnight, and Saturdays 7 a.m – 10 p.m.

       34.     Chester County Sports Arena has a capacity of holding 400 people at one time.

It is not a closed environment, and because people – staff, customers, community members, and

others – cycle in and out of arena, there is an ever-present risk that the Insured Property is

contaminated and would continue to be contaminated.

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          35.   The Insured Property is more susceptible to being or becoming contaminated, as

both respiratory droplets and fomites are more likely to be retained on the Insured Property and

remain viable for far longer as compared to other facilities with open-air ventilation.

          36.   Plaintiff’s business is also highly susceptible to rapid person-to-property

transmission of the virus, and vice-versa, because the activities of the guests and the staff require

them to work in close proximity to the property and to one another in innately physical, athletic

endeavors.

          37.   The virus is physically impacting and the Insured Property. Any effort by the

Defendant to deny the reality that the virus causes physical loss and damage would constitute a

false and potentially fraudulent misrepresentation that could endanger the Plaintiff and the

public.

          38.   A declaratory judgment determining that the coverage provided under the Policy

will prevent the Plaintiff from being left without vital coverage acquired to ensure the survival

of the business due to the shutdown caused by the civil authorities’ response is necessary. As a

result of these Orders, Plaintiff has incurred, and continues to incur, among other things, a

substantial loss of business income and additional expenses covered under the Policy.

                                    V.   CAUSE OF ACTION
                                      DECLARATORY RELIEF

          39.   Plaintiff re-alleges and incorporates by reference into this cause of action each

and every allegation set forth in each and every paragraph of this Complaint.

          40.   The Declaratory Judgment Act, 28 U.S.C. § 2201(a), provides that in “a case of

actual controversy within its jurisdiction . . . any court of the United States . . . may declare the

rights and other legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.” 28 U.S.C. § 2201(a); see also Principal Life Ins. Co. v.
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Minder, No. CIV A 08-5899, 2009 WL 1917096 (E.D. Pa. July 1, 2009); Miller v. Liberty Mut.

Grp., 97 F. Supp. 2d 672 (W.D. Pa. 2000).

       41.     An actual controversy has arisen between Plaintiff and the Defendant as to the

rights, duties, responsibilities and obligations of the parties under the Policy in that Plaintiff

contends and, on information and belief, the Defendant disputes and denies that:

               a.      The Orders constitute a prohibition of access to Plaintiff’s Insured
                       Property;

               b.      The prohibition of access by the Orders has specifically prohibited access
                       as defined in the Policy;

               c.      The Orders trigger coverage;

               d.      The Policy provides coverage to Plaintiff for any current and future
                       closures in Chester County due to physical loss or damage directly or
                       indirectly from the Coronavirus under the Civil Authority coverage
                       parameters;

               e.      The Policy provides business income coverage in the event that
                       Coronavirus has directly or indirectly caused a loss or damage at the
                       insured premises or immediate area of the Insured Property; and

               f.      Resolution of the duties, responsibilities and obligation of the parties is
                       necessary as no adequate remedy at law exists and a declaration of the
                       Court is needed to resolve the dispute and controversy.


       42.     Plaintiff seeks a Declaratory Judgment to determine whether the Orders

constitute a prohibition of access to Plaintiff’s Insured Property.

       43.     Plaintiff further seeks a Declaratory Judgment to affirm that the Orders trigger

coverage.

       44.     Plaintiff further seeks a Declaratory Judgment to affirm that the Policy provides

coverage to Plaintiffs for any current and future closures of businesses such as Plaintiff’s in

Chester County due to physical loss or damage from the Coronavirus and the policy provides

business income coverage in the event that Coronavirus has caused a loss or damage at the

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 Insured Property.

         45.     Plaintiff does not seek any determination of whether the Coronavirus is

 physically in or at the Insured Property, amount of damages, or any other remedy other than

 declaratory relief.


                                   VI.        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff herein prays as follows:

        1)     For a declaration that the Orders constitute a prohibition of access to Plaintiff’s

Insured Property.

        2)     For a declaration that the prohibition of access by the Orders is specifically

prohibited access as defined in the Policy.

        3)     For a declaration that the Orders trigger coverage under the Policy.

        4)     For a declaration that the Policy provides coverage to Plaintiff for any current,

 future and continued closures of non-essential businesses due to physical loss or damage directly

 or indirectly from the Coronavirus.

        5)     For a declaration that the Policy provides business income coverage in the event

 that Coronavirus has directly or indirectly caused a loss or damage at the Plaintiff’s Insured

 Property or the immediate area of the Plaintiff’s Insured Property.

         6)    For such other relief as the Court may deem proper.

 TRIAL BY JURY IS DEMANDED

 Dated: April 24, 2020                          Respectfully submitted,


                                                /s/ Richard M. Golomb
                                                Richard M. Golomb, Esq.
                                                Kenneth J. Grunfeld, Esq.
                                                GOLOMB & HONIK, P.C.

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